AMY HUTCHISON CRELLIN, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  AMY HUTCHISON CRELLIN TRUST, PASADENA METHODIST FOUNDATION, TRUSTEE, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Crellin v. CommissionerDocket Nos. 106839, 109669.United States Board of Tax Appeals46 B.T.A. 1152; 1942 BTA LEXIS 768; May 13, 1942, Promulgated *768  1.  A trust which provided that named relatives of the settlor receive specified amounts for college education and that funds not required for that purpose be used for educational aid to young members of a designated church of which the relatives were not members, held, not charitable within the meaning of sections 1004(a)(2)(B) and 101(6), Internal Revenue Code.  2.  A donor who, under a mistaken conception of law, took no part of the specific exemption in the computation of gift tax, held, entitled to claim the exemption in a proceeding before the Board.  Maynard J. Toll, Esq., for the petitioners.  Harry R. Horrow, Esq., for the respondent.  STERNHAGEN *1152  In Docket 106839, the Commissioner disallowed a deduction and determined a gift tax deficiency of $1,211.25 for 1939.  In Docket *1153  109669, the Commissioner denied exemption and determined an income tax deficiency of $44.85 for 1940.  In both cases, the question is whether the trust is exempt.  The individual petitioner also contends that, if she has no right to the deduction claimed, she may now, and does, elect to have the gift applied against her specific exemption*769  of $40,000.  FINDINGS OF FACT.  Amy Hutchison Crellin is a resident of Pasadena, California, and filed her gift tax return in the Sixth District of California.  The Pasadena Methodist Foundation is a nonprofit California corporation, with office at Pasadena, and is the trustee of the Amy Hutchison Crellin trust.  In the autumn of 1939, Mrs. Crellin discussed with her husband the creation of a trust to peovide the financial means of a college education to those of her grandnephews and grandnieces who might not otherwise be able to get it.  She had aided the parents of some financially, was on friendly and intimate terms with all, and had previously told her husband that she intended to provide a college education for some of the children.  She also expressed the intention that the funds not needed to provide an education for her grandnephews and grandnieces should be used to aid young members of the First Methodist Church.  On December 27, 1939, she executed a trust instrument and the Foundation's board of directors accepted the trust.  To the Foundation in trust she irrevocably transferred $35,187.50 in cash and securities.  The instrument provided: EIGHTH: That this Trust*770  Agreement has for its purpose the giving of assistance in the education of youth and in particular the giving of financial aid to persons of college age whose circumstances prohibit such advantages.  (A) That to this end the following persons shall first become eligible to receive financial aid and may apply for such aid under the following conditions: [Here follows a list of the names, dates and places of birth of fourteen persons, varying in age between two and seventeen years.  Six conditions were set forth covering application for and use of funds solely for education, of which the last is:] 6.  That the application shall state the amount of money desired within one year from date (which amount shall not exceed One Thousand Dollars ($1,000)), and the amounts and dates of payment desired.  That the maximum amount which any one of the before-named persons is entitled to receive under the terms of this trust agreement shall be Four Thousand Dollars ($4,000).  (B) That funds in the hands of the Foundation which are not required to carry out the provisions of this Trust Agreement under paragraph "A" of this Article "Eighth", sub-paragraphs 1 to 6, both inclusive, shall be*771  used for educational aid to young members of the First Methodist Church of Pasadena, Pasadena, California.  The conditions for such aid shall be stipulated by the Foundation, and may be in the form of loans or gifts.  All of the fourteen named persons were grandnephews and grandnieces of Mrs. Crellin.  Because the parents of three of Mrs. Crellin's *1154  grandnephews and grandnieces had ample means for their education, the three were not named in the list of beneficiaries.  Mrs. Crellin notified the parents of each of the fourteen children of the formation of the trust.  None of the named beneficiaries was a member of the First Methodist Church of Pasadena and none lived in that vicinity.  The Foundation appointed three of its directors as a distribution committee to pass upon applications for trust funds.  One application for $575 was received from a grandnephew in 1940, approved and the amount paid.  Three applications from grandnephews and a grandniece were received and approved in 1941, and the aggregate amount of $2,575 was paid.  The applications contained information indicating compliance with the listed conditions but nothing about the financial ability of the applicant*772  or his parents.  Four applications by church members for loans $700aggregating were approved in 1941, and $450 of this was advanced in that year on the applicants' notes, payable in small installments, with interest after two years.  Three applications by church members were not approved because the applicants did not propose to take college courses.  Mrs. Crellin did not communicate with the committee regarding the granting of loans.  Her husband was a director of the Foundation but was not on the distribution committee.  On March 7, 1942, the first public notice that loans were available was inserted in the church paper, but the paster had felt free to inform young church members of it before, and on May 3, 1941, the Foundation directors set aside $500 of the unused income of the trust for loans to qualified church members.  OPINION.  STERNHAGEN: 1.  The question in both cases is whether the Crellin trust is within the provisions of sections 1004(a)(2)(B) and 101(6), Internal Revenue Code. 1 If it is within the former, the gift of Mrs. Crellin to it is a deduction in determining her gift tax; if it is within the latter, the trust is exempt from income tax.  *773 *1155   The approach to the question involves the emphasis to be placed upon one or the other of the coordinate subdivisions A and B, paragraph eighth, of the trust instrument.  If the trust had designated as beneficiaries only those stated in subdivision B, the statutory exemption would hardly be doubtful.  Such a trust would be a means of providing for education, without personal specification or identification of the young people of a church of the community, and this would be enough to establish the charitable character of the trust. In re Henderson's Estate,112 Pac.(2d) 605; In re Willey's Estate,128 Cal. 1"&gt;128 Cal. 1; 60 Pac. 471. On the other hand, if the trust had designated only the fourteen enumerated in subdivision A, it would not be a public charitable trust but a private means of educating the named relatives of the settlor.  Henry C. DuBois,31 B.T.A. 239"&gt;31 B.T.A. 239; James Sprunt Benevolent Trust,20 B.T.A. 19"&gt;20 B.T.A. 19. But the inclusion of both these divergent provisions in the same trust presents a different question.  There is no doubt that the trust was created for a beneficent purpose, which is expressed*774  in the opening paragraph of eight.  But this alone is not determinative, since it affects equally both divergent subdivisions.  Clearly if the opening paragraph of eighth were followed only by a list of three persons who were the children of the settlor, it would not serve to give a charitable character to the trust.  The fact is that two separate and dissimilar groups of beneficiaries are set forth in subdivisions A and B.  Those in subdivision A are fourteen named persons, and no descriptions or common attributes are set forth.  Evidence dehors the instrument shows that these persons are among the seventeen grandnephews and grandnieces of the settlor, that they are not members of the First Methodist Church of Pasadena and are not residents of that vicinity.  Subdivision B designates an entirely different class of beneficiaries, namely, young people who are members of the First Methodist Church.  The fourteen relatives named in subdivision A are not within a general class of beneficiaries, and do not present an instance within the doctrine that a trust for a general class is none the less a charitable trust if it provides for a preference to certain members of the class.  Cf. *775 Schoellkopf v. United States, 124 Fed.(2d) 982. Instead of being favored beneficiaries of a more general class, the nominees in group A are the particular persons for whom the trust was primarily created.  In the instrument itself they are the first *1156  named, and, if their educational demands are sufficient, they may exhaust the fund.  While it does not seem likely that the demand will be great enough to have such a result, nevertheless the settlor intended that the fourteen should be provided for even though the fund should thus be exhausted and nothing be left for the young people of the church.  Behind the instrument, the evidence shows that the trust was born of the settlor's desire to provide education for her fourteen grandnephews and grandnieces, and this strengthens the inference as to intention which is drawn from the instrument itself.  Only the excess of the fund is to be devoted to the education of young people of the church; and in view of the amount of the fund and the number of primary beneficiaries, it is apparent that the aid provided for the church members is incidental to the main object of the trust.  *776  For this reason, it can not be said that the trust is a public charitable trust; the exemption is defeated by the specific enumeration of the settlor's grandnephews and grandnieces as the individual beneficiaries.  Cap Andrew Tilles,38 B.T.A. 545"&gt;38 B.T.A. 545; affirmed other point, 113 Fed.(2d) 907, certiorari denied, 311 U.S. 703"&gt;311 U.S. 703. For the same reason, it does not help petitioner that the purpose of the trust is entirely educational. But if the question be approached from the opposite view, and the trust be regarded as predominantly one for the benefit of young people of the First Methodist Church, it would still be necessary to hold that this was not the exclusive purpose for which it was organized and operated.  The private beneficence to the enumerated fourteen relatives was not a mere incident of a larger public charity.  Subdivision A and its operation are a major part of the trust.  While this may be essentially a question of degree, a trust for the benefit of thousands of persons in a class not perhaps losing its character if it also benefited fourteen of the settlor's relatives, the degree in the present case is relatively too great to be ignored. *777 2This is a commendable trust, actuated by the highest motives.  It was not impelled by any thought of reducing taxes through a factitious deduction.  If it had been, the instrument would have been drawn quite differently.  The instrument was obviously drawn to effectuate the settlor's purpose primarily to provide her grandnephews and grandnieces with the means of a college education which otherwise they might not be able to procure.  This purpose, no matter how commendable, is not the charitable purpose which permits a deduction for gift tax or an exemption to the trust.  2.  Mrs. Crellin, believing herself entitled to a deduction under section 1004(a)(2)(B), Internal Revenue Code, took no deduction *1157  under section 505(a)(1), Revenue Act of 1932, as amended by section 301(1)(b), Revenue Act of 1935, 3 of any part of the specific deduction of $40,000.  She now claims the right to such deduction.  We see no ground upon which the deduction can be denied.  The statute gave petitioner the right to use up as much of the $40,000 exemption as her gift*778  would absorb.  In mandatory language it provides that to this extent the exemption shall be allowed as a deduction.  In any year the allowance is only limited to the remainder left after the amounts of previous years' exemptions have been charged against the total of $40,000.  As to the amount, no question is raised.  The fact that the taxpayer, in a mistaken view of the law, has omitted to avail herself of the exemption is not an election which operates to deprive her of the exemption when her mistake is disclosed.  Richardson v. Commissioner, 126 Fed.(2d) 562. In Docket 106839 it is held that, although petitioner is not entitled to a deduction under section 1004(a)(2)(B), Internal Revenue Code, she is entitled to a deduction under the specific exemption, and there is no deficiency.  In Docket 109669, it is held that petitioner is*779  not within section 101(6), Internal Revenue Code, and is therefore not exempt.  Decision will be entered under Rule 50.Footnotes1. SEC. 1004.  DEDUCTIONS.  In computing net gifts for the calendar year 1939 and preceding calendar years, there shall be allowed (except as otherwise provided in paragraph (1) of subsection (a)) such deductions as are provided for under the gift tax laws applicable to the years in which the gifts were made.  SEC. 505.  (a)(2)(B), Revenue Act of 1932, as amended by sec. 517(a), Revenue Act of 1934: In computing net gifts for any calendar year there shall be allowed as deductions: (a) RESIDENTS. - In the case of a citizen or resident - * * * (2) CHARITABLE, ETC., GIFTS. -The amount of all gifts made during such year to or for the use of - * * * (B) A corporation, or trust, or community chest, fund or foundation, organized and operated exclusively for religious, charitable, scientific, literary, or educational purposes, including the encouragement of art and the prevention of cruelty to children or animals; no part of the net earnings of which inures to the benefit of any private shareholder or individual and no substantial part of the activities of which is carrying on propaganda, or otherwise attempting, to influence legislation; SEC. 101.  EXEMPTIONS FROM TAX ON CORPORATIONS [as amended by § 217, 1939 Act.].  The following organizations shall be exempt from taxation under this chapter - * * * (6) Corporations, and any community chest, fund, or foundation, organized and operated exclusively for religious, charitable, scientific, literary, or educational purposes, or for the prevention of cruelty to children or animals, no part of the net earnings of which inures to the benefit of any private shareholder or individual, and no substantial part of the activities of which is carrying on propaganda, or otherwise attempting, to influence legislation. ↩2. Restatement of the Law, Trusts, ch. 11; Scott on Trusts, ch. 11; Paul, Federal Estate and Gift Taxation, ch. 12. ↩3. SEC. 505.  DEDUCTIONS.  In computing net gifts for any calendar year there shall be allowed as deductions: (a) RESIDENTS. - In the case of a citizen or resident - (1) SPECIFIC EXEMPTION. - An exemption of $40,000 less the aggregate of the amounts claimed and allowed as specific exemption for preceding calendar years. ↩